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GARY MORR|S and CAND'CE MORR|S' § U.s. DisrR€§i§§Dv\/§§§§§b~ giLSErR%roKLA.
Plaintiffs, ) B¥ DE"UTY
vs. § No. C|V-11-1298-W
CENTURY 21 ALL PRO REALTY et a|., §
Defendants. §

ORDER

On January 18, 2012, the Court granted the Motion to Dismiss [Doc. 11] filed by
defendants Century 21 All Pro Rea|ty ("Century 21"), Mary L. Berry, Jennifer L. Wiewel,
Ronald W. Murray ("R Murray") and Laretta M. Murray ("L Murray") and dismissed this
matter in its entirety with prejudice as against a|l defendants named in the action by
plaintiffs Gary Morris and Candice Morris, proceeding pro se. § Doc. 23.

The matter now comes before lthe Court on the Motion for Judgment filed by
Century 21, Berry, Wiewel, R Murray and L Murray pursuant to Rule 58(d), F.R.Civ.P.1
This rule provides that "[a] party may request that judgment be set out in a separate
document . . . ." M.

For good cause shown and because a separate document will not affect the finality
of the Court's Order of January 18, 2012, but will clarify when the time for appeal begins
to run, the Court

(1) GRANTS the movants' Motion for Judgment [Doc. 25] filed on February1,2012;

and

 

1Because the defendants are entitled to the requested relief, the Court finds that a response
from the plaintiffs will not materially aid the Court's resolution of the instant motion.

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(2) ORDERS that a judgment shall issue forthwith.

ENTERED this <Q’V"N day of February, 2012.

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UN|'|'ED

(1)

TATES D|STR|CT JUDGE

